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  Anthony J. Genovesi, Partner
  agenovesi@abramslaw.com

  Melanie I. Wiener, Partner
  mwiener@abramslaw.com
                                                              February 1, 2023

  VIA ECF
  United States District Court
  Eastern District of New York
  Attn: Hon. Pamela K. Chen, U.S.D.J.
  225 Cadman Plaza East
  Courtroom 4F North
  Brooklyn, NY 11201-1804
                                               Re:     IME WatchDog, Inc. v. Gelardi, et al.
                                                       Case No.: 1:22-cv-1032 (PKC) (JRC)

  Dear Judge Chen:

          This law firm was recently retained to represent defendants Gregory Elefterakis
  (“Elefterakis”), Roman Pollak (“Pollak”), and Anthony Bridda (“Bridda) (collectively
  “defendants”) and write to request an extension of defendants’ time to answer and/or otherwise
  respond to plaintiff’s first amended complaint until March 3, 2023. Plaintiff has consented to
  same.

          Pursuant to your Honor’s Individual Practices and Rules, plead be advised that: (a)
  Elefterakis, Pollack and Bridda’s time to answer was originally scheduled for February 2, 2023
  (see Docket Entry 129); (b) defendants herein have not made any prior requests for an extension
  of time to answer and/or otherwise respond to plaintiff’s first amended complaint; (c) plaintiff
  consented to the requested adjournment by email dated February 1, 2023; and (d) no other
  deadlines are affected by this request for an extension.

          We thank the Court for its courtesies and cooperation.

                                                      Respectfully submitted,




                                                      Melanie I. Wiener

  cc: All counsel (via ECF)
